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UNITED STATES DISTRICT COURT F“_ED m D_c_
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION OSAUGlg H 6:52
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BARRY FIALA' INC" ’ US\§I~?ST;::ECTCOURT
W 1 95 `i`h; ??».'iEWHlS
Plaintiff,
V'.
A.`RTHUR BL.ANK & COMPANY, INC.,
Defendant, Counter-Plaintiff Cv. No. 02-2282-Ma
and Third-Party Plaintiff,
v.
MOORE W.ALLACE NORTH AMERICA, INC!.l
f/k/a MOORE NORTH AMERICA, INC.;
Third-Party Defendant.
JUDGMENT
Decision. by' Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that thiS action iS dismissed in
accordance with the Stipulated Order of Dismissal With Prejudice,
docketed August 9, 2005. Each party shall bear its own costs,
expenses and attorney fees.

APPRO‘B:M ¢¢ n n

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 180 in
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Honorable Samuel Mays
US DISTRICT COURT

